Case 9:18-cr-80108-RLR Document 1 Entered on FLSD Docket 05/29/2018 Page 1 of 7




                             UNITED STA TES DISTRIC T C O URT
                             SO UTH ERN D ISTRICT OF FL O RIDA

                  CASE NO . 18-80108-cr-Rosenberg/Reinhart
                                     18U.S.C.j1957
                                     18U.S.C.j982(a)(1)
  U NITED STATES O F AM ERICA                                         FILED BY          SP
                                                                                           @e*e'*%*'*


                                                                       M ay 29,2018
  LA W REN CE W EISBERG ,                                               STEVEN M .LARIM ORE
                                                                       fLERK LLS.DI.STRICTCT.
                                                                       5aD.O'
                                                                            FFG .W estPalm Beach
        Defendant.
                                        /

                                       INFO RM A TION

        The United States Attom ey charges that:

                                            C-OVNT-I
        On oraboutApril7,2016,in Palm Beach Cotmty,in the Southern DistrictofFlorida,and

  elsewhere,the defendant,

                                  LAW RENCE W EISBERG
  did knowingly engagc and attcm pt to engage in a m ond ary transaction affecting interstate

  comm erce,by,through,and to a tinancialinstitution,in crim inally derived property of a valuc

  greaterthan $10,000,thatis,thedcpositofSm artLab lnc.'scheck numbcr2271inthcapproxim ate

  amountof$41,234.41 into Bank ofAmerica accountnumber (
                                                       X)
                                                        X'X)
                                                           X.X1X.
                                                                X'X)8562,wlzich was
  controlled by thc defendant, and such property having bcen derived from spccified unlawful

  activity;in violation ofTitle l8,United States Codc,Scctions l957 and 2,

         ltisfurtherallegcd thatthc specificd unlawfulactivity w ashcalth carefraud and conspiracy

  to cornm ithealth care fraud,in violation ofTitle 18,United Statcs Code,Sections 1347 and 1349.
Case 9:18-cr-80108-RLR Document 1 Entered on FLSD Docket 05/29/2018 Page 2 of 7




                                         FO RFEITUR E

               The allegations contained in Count 1 of this Inform ation are realleged and

 incorporated by reference asthough fully setforth herein forthe purpose ofalleging forfeiture to

 the U nited States of A m erica of certain property in w hich the defendant, LA W RE N CE

 W EISBERG hasan interest.
               Upon conviction of a violation of Title 18,U nited States Code,Section 1957,as

 alleged in Count l ofthis lnform ation,the defendant,LA W R EN CE W EISBER G ,shallforfeitto

 theUnitedStates,pursuanttoTitle18,UnitedStatesCode,Section982(a)(1),a11property,realand
 personal,involved in such offensesand any property traceable to such property,including,butnot

 limited to,approxim ately $41,234.41in United Statescurrency.

               Ifthepropertydescribedaboveasbeingsubjecttoforfeiture,asaresultofany act
 oromission ofLAW RENCE W EISBERG
               a. cannotbe located upon the exercise ofdue diligence;

               b. hasbeen transferred or sold to or deposited w ith a third party;

                   hasbeenplacedbeyondthejudsdictionoftheCourt;
               d. hasbeen substantially dim inished in value;or

               e. hasbeen com m ingled w ith otherproperty which cannotbe subdivided w ithout

                   difficulty;

 itistheintentoftheUnited States,pursuantto Title21,United StatesCode,Section 8531),as
 madeapplicablethroughTitle18,UnitedStatesCode,Section 982(b)(1),toseekforfeitureofany
 otherproperty ofLA W R EN CE M CE ISBER G ,up to the value ofthe above forfeitable property.
Case 9:18-cr-80108-RLR Document 1 Entered on FLSD Docket 05/29/2018 Page 3 of 7




        A1lpursuanttoTitle18,UnitedStatesCode,Section982(a)(7),andtheproceduressetforth
 atTitle 21,U nited States Code,Section 853,as m ade applicable through Title 18,United States

 Code,Section982(b)(1).


                  )-
 BEN JA M EV G.GR EEN BER G
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 A .M ARIE V ILLA FA
 A SSISTAN T UN ITED STA TES A TTO RN EY
   Case 9:18-cr-80108-RLR Document  1 Entered
                            U NITED STATES      onICT
                                           D ISTR   FLSD  Docket
                                                      C OUR T    05/29/2018 Page 4 of 7
                                         SOU TH ERN DISTRICT O F FLOR IDA


IJNITED STATES OF AM ERICA                        CA SE N O.
VS.
                                                  CER TIFICA TE O F TRIAL A TTO RN EY *
LAW R EN CE W EISBERG ,
                        Defendant.
                                          /       SupersedingC aseInform ation:

CourtDivision:(selectone)                         New Defendantts)                  YES
                                                  N umberofNew Defendants
        M iam i             K eyW est             Totalnum berofcounts
        FTL                 W PB     X    FTP
        Ido herebycertif.ythat:

                  lhavecarefullyconsideredtheallegationsoftheindictment,thenumberofdefendants,thenllmberofprobable
                  wimessesandthelegalcomplexitiesoftheIndictment/lrtformation attached hereto.
                  Iam awarethattheinformationsuppliedonthisstatementwillberelieduponbytheJudgesofthisCourtinsetting
                  theircalendarsandschedulingcrim inaltrialsunderthem andateoftheSpeedyTrialAct,Title28U .S.C.Section
                  3161.
                  Interpreter:     (YesorNo)       No
                  Listlanguageand/ordialect
                  Thiscasewilltake        3-5     daysforthepartiestotry.
                  Pleasecheck appropriatecategory andtype ofoffenselistedbelow :
                  (Checkonlyone)                                                    (Checkonlyone)
        I         0 to 5days                         X                      Petty
        11        6 to 10 days                                              M inor
        lII       11to 20 days                                              M isdem .
        IV        21to 60days                                               Felony
        V         61daysand over
        6.        HasthiscasebeenpreviouslyfiledinthisDistrictCourt?(YesorNo) No
        Ifyes:
        Judge:                                      CaseNo.
       (Attachcopyofdispositiveorder)
       HasacomplaintbeenGledintlzismatter?(YesorNo) No
       Ifyes: M agistrateCaseN o.
       RelatedM iscellaneousnumbers:
       Defendantts)infederalcustodyasof
       Defendantts)instatecustodyasof
       Rule20from the
       Districtof
       Isthisapotentialdeathpenaltycase?(YesorNo)           Yes             X No

                  Doesthiscaseoriginatefrom amatterpending in theNorthern Region ofthe U.S.Attorney'sOffcepriorto
                  October 14,2003?            Yes         X No

                  Doesthiscase originate from a m atterpending in theCentralRegion ofthe U .S.Attorney'sO ffce priorto
                  September1,20072                Yes        X No


                                                                            ?,

                                                            . M arie illafana
                                                          ASSISTANT UNITED STATES ATTORNEY
                                                          FloridaBarN o.0018255

*penaltySheetts)attached                                                                             REV.
                                                                                                        9/l1/07
Case 9:18-cr-80108-RLR Document 1 Entered on FLSD Docket 05/29/2018 Page 5 of 7




                          U NITED STA TE S D IST RIC T C O UR T
                          SO UTH ER N D IST RIC T O F FLO R IDA

                                     PEN A LTY SH EET

 Defendant'sN am e: LA W REN CE W EISBER G


 C ase N o:


 Cotm t#:1

   18U.S.C.j1957
   M onev Launderina in Excessof$10,000
 * M ax-penalty:10 Years'lmpdsonm ent;3 years'Supervised Release'
                                                                ,$250,000 Fine or twice
        the am ount of the crim inally derived property involved in the transaction; crim inal
        forfeiture;$100 specialassessm ent.




 WR efersonly to possible term ofincarceration,does not include possible fines,restitution,special
 assessm ents,paroleterm s,or forfeituresthatm ay be applicable.



                                              1
   Case 9:18-cr-80108-RLR Document 1 Entered on FLSD Docket 05/29/2018 Page 6 of 7




                           U N ITED STA TE S DISTR IC T C O U R T
                              SO UTH ERN D ISTRIC T O F FLOIU DA

                          CASE N UM BER :

                                  BOND RECOM M ENDATION


DEFENDANT:LAW RENCE W EISBERG

              PersonalSurety BondOf$100,000 Co-signed byW ife
             (PersonalSurety)(CorporateSurety)(Cash)(Pre--
                                                         frialDetention)



                                                                               *
                                             By:
                                                    A USA : M arie V illafan




LastK now n A ddress:




W hatFacility:




Agenttsl:
                    (FBl) (SECRET SERVICE) (DEA) (1RS) (lCE) (OTHER)
   Case 9:18-cr-80108-RLR Document 1 Entered on FLSD Docket 05/29/2018 Page 7 of 7



AO 455(Rcv.()1/09)WalvefofanIndlctmcnt

                                 U NITED STATES D ISTRICT COURT
                                                    forthe
                                           SouthernDistrictofFlorida

               United StatesofAmerica
                            V.                                 caseNo. l8-8olo8-cr-Rosenberg/
                  Lawrence W eisberg,                                                    Reinhart

                        Db
                         fendant

                                         W AIVER OF AN INDICTM ENT

       IunderstandthatIhavebeenaccused ofoneormoreoftknsespunishableby im prisonmentformorethanone
year. Iwasadvised in open courtofmy rightsandthe nature oftheproposed chargesagainstme.

       Afterrcceivingthisadviceslwaivemy'rightto prosecution by indictmentand consentto prosecutionby
information.




                                                                              Dq/cndtlnf'
                                                                                        sâ'
                                                                                          fgnt:/ure




                                                                              Brian Bi:beruEsq.
                                                                        Printedrlt
                                                                                 r
                                                                                 lracoftlcfendant'
                                                                                                 saltorney




                                                           -   RAV:-LCE-B-RN -NQN,U.SC-MAQISTV TQJUP-    GQ  -
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                                                                             lges
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